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                    EXHIBIT 1
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                                                                                      CLERK OF SUPERIOR COURT
                                                                                     MUSCOGEE COUNTY, GEORGIA
                                                                                    SU-2020-CV-2196
                IN THE SUPERIOR COURT OF MUSCOGEE COUNTY
                                                                                      DEC 17, 2020 10:19 AM
                                    STATE OF GEORGIA

CHERRY PEASE,                 *
                              *                            CIVIL ACTION FILE NO.
     Plaintiff,               *                              SU-2020-CV-2196
                              *
   vs.                        *
                              *
TIGER CREEK DEVELOPMENT, INC.,*
AND DAVID ERICKSON,           *
                              *
     Defendants.              *
                              *
                              *
TIGER CREEK DEVELOPMENT, INC.,*
                              *
     Third-Party Plaintiff,   *
                              *
   vs.                        *
                              *
EDDIE BROWN GRADING, LLC.,    *
                              *
     Third-Party Defendant.   *

     DEFENDANT TIGER CREEK DEVELOPMENT, INC.’S THIRD-PARTY
          COMPLAINT AGAINST EDDIE BROWN GRADING, LLC

        COMES       NOW      Tiger       Creek        Development,             Inc.      (“Tiger

Creek”) and files this Third-Party Complaint against Eddie

Brown     Grading,         LLC     (“Eddie        Brown      Grading”),          showing        the

Court as follows:

                                                1.

        Defendant Tiger Creek is a domestic corporation formed

under the laws of the State of Georgia having its principal

place of business in Columbus, Georgia.




                                                -1-
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                                                2.

        Third-Party Defendant Eddie Brown Grading, LLC is a

limited liability company authorized to transact business

in the State of Georgia and may be served with process on

its Member and company officer Eddie Brown at 2301 Airport

Thruway,       Suite       E-6,      Columbus,          Muscogee         County,        Georgia,

31904.

                                                3.

        A copy of all pleadings filed prior to the filing of

this Third-Party Complaint will be served with this Third-

Party Complaint and are attached hereto as Exhibit A.

                                                4.

        Jurisdiction           and      venue         are    proper        in     this       Court

pursuant to O.C.G.A. § 9-10-34 and 9-11-14.

                                                5.

        Tiger Creek is the owner developer of the residential

subdivision property known as Charleston Place Phase III

which     is     the     subject         of    Plaintiff’s           Complaint          in     this

action.

                                                6.

        Tiger      Creek      contracted          with      Eddie       Brown      Grading        to

perform the site development work at Charleston Place Phase

III (“the Project”) which included, in part, installation

and maintenance of erosion controls in conjunction with the


                                                -2-
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clearing         and       grading         of        land        and      construction            of

underground utilities.

                                                7.

       On November 5, 2020, Plaintiff Cherry Pease filed a

Complaint alleging that her property located on Blackmon

Road in Muscogee County has sustained damage as a result of

negligent actions of Tiger Creek.

                                                8.

       Specifically,            Plaintiff alleged                 that     “[o]n       or    about

the    first       week      of     May,       2020,        in    preparation           for     the

development of a new subdivision containing 40 new lots,

Defendants          negligently           began        to        clear     the      trees       and

vegetation from the Tiger Creek property which allowed sand

or top soil which had been stockpiled on the Tiger Creek

property to be washed downhill toward Plaintiff’s property

and    into      the     creek       which       feeds       Plaintiff’s           pond”,       and

“[f]rom        there       the      sand        or     topsoil           was     washed        into

Plaintiff’s pond where it remains as an unwanted deposit in

the mouth of Plaintiff’s pond.”

                                                9.

       Plaintiff          also      alleged        that      “Defendants           negligently

continued        to clear          and     grub       the entire          hillside          on the

Tiger Creek property, exposing the red clay topsoil to rain

and storm water runoff”, and “[i]nstead of first clearing


                                                -3-
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only the area necessary to install the required storm water

detention        Facilities           or     mulching         the      exposed        red      clay

hillside, Defendants relied on a double walled silt fence

to   control         the     volume        of    storm       water      washing         downhill

toward Plaintiff’s property.”

                                                10.

       Plaintiff           further       alleged        that      “Plaintiff          sustained

damage to her property” and Plaintiff seeks to recover “the

cost of repairing and restoring her pond and the stream

feeding her pond on her property” and “any discomfort, lost

enjoyment, and loss of peace of mind caused by Defendants’

actions described herein.”

                                                11.

       To the extent Tiger Creek is found liable to Plaintiff

in any amount, Eddie Brown Grading is liable to Tiger Creek

in like amount pursuant to indemnity, contribution, and/or

warranty.

       WHEREFORE,          Tiger       Creek      prays       that      this     Court       award

judgment against Third-Party Defendant Eddie Brown Grading,

LLC for all sums that may be adjudged against Tiger Creek

in favor        of     Plaintiff,          together with             the     costs      of this

action, and for any other such relief this Court deems to

be just and proper.




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        Respectfully           submitted,           this      17th     day     of     December,

2020.

                                         MABRY & McCLELLAND, LLP


                                         /s/ Richard H. Hill, Jr.
                                         Richard H. Hill, Jr., Esq.
                                         Georgia Bar No. 354422
                                         Attorney for Defendants/Third-
                                         Party Plaintiff Tiger Creek
                                         Development, Inc.

2200 Century Parkway, N.E.
Suite 1000
Atlanta, Georgia 30305
(404) 325-4800
(404) 325-0596
rhill@m-mlegal.com




                                                -5-
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                 Exhibit “A”
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                                                                                      CLERK OF SUPERIOR COURT
                                                                                     MUSCOGEE COUNTY, GEORGIA
                                                                                    SU-2020-CV-2196
                IN THE SUPERIOR COURT OF MUSCOGEE COUNTY
                                                                                       DEC 10, 2020 04:30 PM
                                    STATE OF GEORGIA

CHERRY PEASE,                 *
                              *                             CIVIL ACTION FILE NO.
     Plaintiff,               *                               SU-2020-CV-2196
                              *
   vs.                        *
                              *
TIGER CREEK DEVELOPMENT, INC.,*
AND DAVID ERICKSON,           *
                              *
     Defendants.              *

  ANSWER AND DEFENSES OF TIGER CREEK DEVELOPMENT, INC. AND
          DAVID ERICKSON TO PLAINTIFF’S COMPLAINT

       COME      NOW      TIGER         CREEK     DEVELOPMENT,            INC.      AND      DAVID

ERICKSON, named Defendants in the above-styled case, and

file     the     following          Answer        and       Defenses        to     Plaintiff’s

Complaint, and respectfully show the Court as follows:

                                        FIRST DEFENSE

       The Complaint fails to set forth a claim against the

Defendants upon which relief can be granted.

                                      SECOND DEFENSE

       For      a    Second        Defense,           the     Defendants          answer        the

numbered paragraphs of the Complaint as follows:

                                                1.

       Defendants            are        without        knowledge           or      information

sufficient          to    form      a    belief        as     to     the     truth        of    the

allegations contained in Paragraph 1 of the Complaint and,

therefore, cannot admit or deny same.




                                                -1-
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                                                 2.

        Defendants           admit         the        allegations            contained            in

Paragraph 2 of the Complaint.

                                                 3.

        Defendants          admit       the      allegations           contained         in     the

first      sentence         of     Paragraph          3     of     the      Complaint,          and

Defendants         deny     the      allegations          contained          in    the     second

sentence of Paragraph 3 of the Complaint.

                                                 4.

        Defendants           admit         the        allegations            contained            in

Paragraph 4 of the Complaint.

                                                 5.

        Defendants           admit         the        allegations            contained            in

Paragraph 5 of the Complaint.

                                                 6.

        Defendants           admit         the        allegations            contained            in

Paragraph 6 of the Complaint.

                                                 7.

        Defendants           are        without        knowledge           or      information

sufficient         to     form      a    belief        as     to     the     truth       of     the

allegations contained in Paragraph 7 of the Complaint and,

therefore, cannot admit or deny same.




                                                -2-
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                                                8.

       Defendants            are        without        knowledge           or      information

sufficient         to     form      a    belief        as     to     the     truth       of     the

allegations contained in Paragraph 8 of the Complaint and,

therefore, cannot admit or deny same.

                                                9.

       Defendants            are        without        knowledge           or      information

sufficient         to     form      a    belief        as     to     the     truth       of     the

allegations contained in Paragraph 9 of the Complaint and,

therefore, cannot admit or deny same.

                                               10.

       Defendants deny the allegations contained in Paragraph

10 of the Complaint.

                                               11.

       Defendants deny as pled the allegations contained in

Paragraph 11 of the Complaint, and in further response,

Tiger Creek Development, Inc. is a company that develops

residential subdivisions in and around Columbus, Georgia,

including the Charleston Place subdivision property which

it    owns       and      is     located         adjacent          to     the      Plaintiff’s

property.

                                               12.

       Defendants deny as pled the allegations contained in

the first sentence Paragraph 12 of the Complaint, and in


                                                -3-
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further response, David Erickson is a corporate officer of

Tiger        Creek         Development,               Inc.        and        performs           the

administrative             duties        of     Chief        Executive          &     Financial

Officer of the company.                       Defendants deny the allegations

contained in the second sentence of Paragraph 12 of the

Complaint.

                                               13.

        Defendants deny the allegations contained in Paragraph

13 of the Complaint.

                                               14.

        Defendants deny the allegations contained in Paragraph

14 of the Complaint.

                                               15.

        Defendants deny the allegations contained in Paragraph

15 of the Complaint.

                                               16.

        Defendants deny the allegations contained in Paragraph

16 of the Complaint.

                                               17.

        Defendants deny the allegations contained in Paragraph

17 of the Complaint.

                                               18.

        Defendants deny the allegations contained in Paragraph

18 of the Complaint.


                                                -4-
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                                               19.

       Defendants deny as pled the allegations contained in

Paragraph 19 of the Complaint, and in further response,

Plaintiff’s statement is an incomplete reference to only a

portion of the Georgia Erosion and Sedimentation Act which,

in    its      entirety         and      without        modification,             speaks        for

itself.

                                               20.

       Defendants deny as pled the allegations contained in

Paragraph 20 of the Complaint, and in further response,

Plaintiff’s statement is an incomplete reference to only a

portion of the Columbus, Georgia Code of Ordinances Section

7.12.1,       et.      seq.      which,        in     its      entirety          and     without

modification, speaks for itself.

                                               21.

       Defendants deny as pled the allegations contained in

Paragraph 21 of the Complaint, and in further response,

Plaintiff’s           statement          is      an      incomplete           reference           to

portions of the Stormwater Management Plan which, in its

entirety and without modification, speaks for itself.

                                               22.

       Defendants deny the allegations contained in Paragraph

22 of the Complaint.




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                                               23.

       Defendants deny the allegations contained in Paragraph

23 of the Complaint.

                                               24.

       Defendants deny the allegations contained in Paragraph

24 of the Complaint.

                                               25.

       Defendants deny the allegations contained in Paragraph

25 of the Complaint.

                                               26.

       Any allegation of the Complaint not admitted, denied

or otherwise responded to above is hereby denied.

                                       THIRD DEFENSE

       Defendants            are      not      liable          to     Plaintiff          because

Defendants breached no duty owed to Plaintiff in regard to

the occurrence giving rise to this action.

                                      FOURTH DEFENSE

       No     act     or    omission         on     the     part      of    the     Defendants

caused      or      contributed           to      any     of     the       alleged       damages

claimed, and therefore the Plaintiff is not entitled to

recover anything from the Defendants.

                                     FIFTH DEFENSE

       Pending further               investigation,             the sole,          direct       and

proximate cause of any injury or damage which the Plaintiff


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may    have      sustained          was     due       to   the       negligence         of     some

person, persons or entity other than the Defendants and

therefore the Plaintiff is not entitled to recover anything

from the Defendants.

                                       SIXTH DEFENSE

       Pending further investigation, the Complaint should be

dismissed          for      failure          to       join       a     necessary           and/or

indispensable party.

                                     SEVENTH DEFENSE

       Defendants            cannot        be     held       liable        for      errors        or

omissions in any plans, specifications, and/or inspections

for the subject Project.

                                      EIGHTH DEFENSE

       To the extent Plaintiff failed to use ordinary care

to prevent or mitigate, in whole or in part, the alleged

damages, if any, Plaintiff is not entitled to recover such

damages.

                                       NINTH DEFENSE

       Plaintiff’s alleged damages were the result of one or

more acts of God, for which this Defendant can have no

liability.

                                       TENTH DEFENSE

       The failure to properly plead items of special damages

sought      in    this      action        prohibits         and/or       bars      Plaintiff’s


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right to recover and/or recoup any items of special damages

in this action, as a matter of law.                           O.C.G.A. § 9-11-9(g).

                                    ELEVENTH DEFENSE

       The statutes of the State of Georgia which authorize

the     imposition           of     aggravated,            exemplary,           or      punitive

damages are contrary, by their express terms and as they

may    be    applied         to    the    Defendants          in     this     case,       to    the

Constitution            of        the    United         States        and       the      Georgia

Constitution          and      are,      therefore,          void      inasmuch         as     said

statutes allow for the deprivation of property without due

process of law.              (U.S. Const. amends V and XIV; Ga. Const.

Art. 1, Section 1, Para. 1).                           Specifically, said statutes

fail to define or provide advance notice of the prohibited

behavior with reasonable clarity, fail to specify the upper

limit of damages to be imposed, fail to set guidelines,

standards or criteria for the jury to apply in determining

whether to impose punitive damages and, if so, the amount

thereof.        These defects in the statutes, inter alia, leave

to the unbridled discretion of a random jury whether to

impose       such       damages          and     the      amount        thereof,         thereby

authorizing an award of aggravated, exemplary, or punitive

damages which is unpredictable, arbitrary, capricious, and

disproportionate.




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                                        TWELFTH DEFENSE

       The statutes of the State of Georgia which authorize

the     imposition           of     aggravated,            exemplary,           or      punitive

damages are contrary, by their express terms and as they

may    be    applied         to    the     Defendants         in     this     case,       to    the

Constitution            of        the     United        States        and       the      Georgia

Constitution          and      are,       therefore,         void      inasmuch         as     said

statutes deny the Defendants equal protection of the laws

by providing fewer protections for civil litigants than the

criminal laws provide to persons accused of violation of

criminal        statutes          which      provide        for      the     imposition           of

monetary fines.              (U.S. Const. amend. XIV; Ga. Const. Art.

1, Section 1, Paragraph 2).                           Specifically, said statutes,

inter alia, fail to define or provide advance notice of the

prohibited           behavior            with       reasonable           clarity         whereas

criminal        defendants          are      entitled         to     such      notice;         said

statutes fail to specify the upper limit of damages to be

imposed         whereas           criminal          statutes           imposing          similar

penalties must be limited; said statutes allow imposition

of such damages upon the "preponderance of the evidence"

rather       than      the        "beyond       a     reasonable          doubt"        standard

applied       in     similar            criminal       cases;       and      said       statutes

contemplate the imposition of such damages against civil

litigants who have been compelled to give evidence against


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themselves         under      the       Georgia          Civil    Practice        Act    whereas

criminal         defendants             in     similar           cases        cannot      be      so

compelled.

                                   THIRTEENTH DEFENSE

        The statutes of the State of Georgia which authorize

the     imposition           of     aggravated,             exemplary,            or     punitive

damages are contrary, by their express terms and as they

may    be    applied         to    the       Defendants          in    this      case,    to    the

Constitution            of        the     United          States        and      the     Georgia

Constitution          and      are,      therefore,          void       inasmuch         as    said

statutes allow for the imposition of an excessive fine.

(U.S.       Const.      amend.          VIII    and       XIV;        Ga.   Const.       Art.     1,

Section 1, Paragraph 17).

                                   FOURTEENTH DEFENSE

        The statutes of the State of Georgia which authorize

the     imposition           of     aggravated,             exemplary,            or     punitive

damages are contrary, by their express terms and as they

may    be    applied         to    the       Defendants          in    this      case,    to    the

Constitution            of        the     United          States        and      the     Georgia

Constitution          and      are,      therefore,          void       inasmuch         as    said

statutes do not provide fair notice of (1) the severity of

the    potential         punishment            in   relationship            to    the    alleged

degree of reprehensible conduct of the Defendants, (2) the

ratio     of any        punitive         damages          award       to the      actual harm


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inflicted upon the Plaintiff, and (3) a comparison between

the award and the civil or criminal penalties that could be

imposed for comparable alleged misconduct.                                      See, BMW of

North America, Inc. v. Gore, 116 U.S. 415, 133 L.Ed.2d 333,

115 S. Ct. 932 (1966); BMW of North America, Inc. v. Gore,

116    S.    Ct.     1589      (1996);        Pacific        Mut.     Life      Ins.      Co.     v.

Haslip, 499 U.S. 1, 113 L.Ed.2d 1, 111 S. Ct. 1032 (1991).

       WHEREFORE,           Defendants           pray      that       the      Complaint          be

dismissed        with       costs       of     this      action        cast      against        the

Plaintiff.

       This 10th day of December, 2020.

                                         MABRY & McCLELLAND, LLP


                                         /s/ Richard H. Hill, Jr.
                                         Richard H. Hill, Jr., Esq.
                                         Georgia Bar No. 354422
                                         Attorney for Defendants

2200 Century Parkway, N.E.
Suite 1000
Atlanta, Georgia 30305
(404) 325-4800
(404) 325-0596
rhill@m-mlegal.com

DEFENDANTS DEMAND TRIAL
BY JURY OF TWELVE




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                               CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on the date

indicated below, he did serve upon opposing counsel a copy

of the ANSWER AND DEFENSES OF TIGER CREEK DEVELOPMENT, INC.

AND DAVID ERICKSON TO PLAINTIFF’S COMPLAINT, by electronic

service through PeachCourt and by placing a copy of same in

the    United       States        mail      with        sufficient        postage        affixed

thereon to insure delivery to the following attorneys and

parties of record:

                        Attorneys for Plaintiff

                        Joseph L. Waldrep, Esq.
                        Morgan P. Waldrep, Esq.
                        WALDREP, MULLIN & CALLAHAN, LLC
                        P.O. Box 351
                        Columbus, Georgia 31902
                        jlw@waldrepmullin.com
                        mpw@waldrepmullin.com

       This 10th day of December, 2020.

                                         MABRY & McCLELLAND, LLP


                                         /S/ Richard H. Hill, Jr.
                                         Richard H. Hill, Jr., Esq.
                                         Georgia Bar No. 354422
                                         Attorney for Defendants

2200 Century Parkway, N.E.
Suite 1000
Atlanta, Georgia 30305
(404) 325-4800 - telephone
(404) 325-0596 - facsimile
rhill@m-mlegal.com




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                               CERTIFICATE OF SERVICE

        The undersigned does hereby certify that on the date

indicated below, he did serve upon opposing counsel a copy

of   the     DEFENDANT         TIGER       CREEK      DEVELOPMENT,            INC.’S       THIRD-

PARTY      COMPLAINT          AGAINST         EDDIE       BROWN       GRADING,         LLC,       by

electronic service through PeachCourt and by placing a copy

of same in the United States mail with sufficient postage

affixed       thereon         to      insure        delivery          to     the      following

attorneys and parties of record:

                        Attorneys for Plaintiff

                        Joseph L. Waldrep, Esq.
                        Morgan P. Waldrep, Esq.
                        WALDREP, MULLIN & CALLAHAN, LLC
                        P.O. Box 351
                        Columbus, Georgia 31902
                        jlw@waldrepmullin.com
                        mpw@waldrepmullin.com

        This 17th day of December, 2020.


                                         /s/ Richard H. Hill, Jr.
                                         Richard H. Hill, Jr., Esq.
                                         Georgia Bar No. 354422
                                         Attorney for Defendants/Third-
                                         Party Plaintiff Tiger Creek
                                         Development, Inc.




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